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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


IN RE                                        )       CASE NO. 03-93031-MHM
                                             )
GROUP MANAGEMENT CORP.,                      )       CHAPTER 11
a/k/a IVG CORP.,                             )
                                             )       JUDGE MARGARET H. MURPHY
                     Debtor.                 )
                                             )
                                             )

             ENTRY OF APPEARANCE; REQUEST FOR SPECIAL NOTICE;
          REQUEST FOR SERVICE OF PAPERS; AND RESERVATION OF RIGHTS

           PLEASE TAKE NOTICE that interested parties and creditors Alpha Capital

Aktiengesellschaft (“Alpha”), Amro International, S.A. (“Amro”), Markham Holdings, Ltd.

(“Markham”), and Stonestreet Limited Partnership (“Stonestreet”) hereby appear and under,

inter alia, Bankruptcy Rules 2002, 9007, 9010 and Section 1109(b) of the Bankruptcy Code,

11 U.S.C. § 1109(b), request that all notices given or required to be given in this case, be

given to and served upon:

                                        Dennis S. Meir
                                       John W. Mills, III
                                KILPATRICK STOCKTON LLP
                               1100 Peachtree Street, Suite 2800
                                   Atlanta, Georgia 30309
                     Telephone: (404) 815-6500/Facsimile: (404) 815-6555


           PLEASE TAKE FURTHER NOTICE that this request includes not only the notices and

papers referred to in the Bankruptcy Rules specified above, but also includes, without limitation,

orders and notices of any application, motion, petition, pleading, request, complaint, or demand,

whether formal or informal, whether written or oral, and whether transmitted or conveyed, by




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mail, courier service, hand-delivery, telephone, facsimile transmission, electronic mail,

telegraph, telex, or otherwise that affect or seek to affect in any way any rights or interest of any

creditors or parties in interest in this case, including Alpha, Amro, Markham and Stonestreet.

           PLEASE TAKE FURTHER NOTICE that Alpha, Amro, Markham and Stonestreet

intend that neither this Entry of Appearance nor any later appearance, pleading, claim, or suit

shall waive (1) the right of Alpha, Amro, Markham or Stonestreet to have final orders in noncore

matters entered only after de novo review by a District Judge, (2) the right of Alpha, Amro,

Markham or Stonestreet to trial by jury in any proceeding so triable in this case or any case, (3)

the right of Alpha, Amro, Markham or Stonestreet to have the District Court withdraw the

reference in any matter subject to mandatory or discretionary withdrawal, or (4) any other rights,

claims, actions, defenses, setoffs, or recoupments to which Alpha, Amro, Markham or

Stonestreet are or may be entitled under agreements, in law or in equity, all of which rights,

claims action, defenses, setoffs, and recoupments are expressly reserved by Alpha, Amro,

Markham and Stonestreet.

Dated: April 10, 2003                                 Respectfully submitted,

                                                             /s/ Dennis S. Meir
                                                      Dennis S. Meir - Georgia Bar No. 501100
                                                      John W. Mills, III -California Bar No. 149861

                                                      KILPATRICK STOCKTON LLP
                                                      1100 Peachtree Street, Suite 2800
                                                      Atlanta, Georgia 30309
                                                      Telephone: (404) 815-6500
                                                      Facsimile: (404) 815-6555

                                                      COUNSEL TO ALPHA CAPITAL
                                                      AKTEINGESELLSCHAFT, AMRO
                                                      INTERNATIONAL, S.A., MARKHAM
                                                      HOLDINGS, LTD., AND STONESTREET
                                                      LIMITED PARTNERSHIP



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                                    CERTIFICATE OF SERVICE

           I hereby certify that a true copy of this Request for Special Notice; Entry of Appearance;

Request for Service of Papers; and Reservation of Rights was served by Facsimile or U. S. Mail

on the parties below on April 10, 2003.

                                         Sims W. Gordon, Jr.
                                          Gordon & Boykin
                                   2130 Kingston Court, SE, Suite B
                                         Marietta, GA 30067
                                        Fax: (770) 612-2627

                                          James H. Morawetz
                                  Office of the United States Trustee
                                 362 Richard Russell Federal Building
                                         75 Spring Street, SW
                                          Atlanta, GA 30303
                                         Fax: (404) 331-4464

                                          Baker & McKenzie
                                      2300 Trammell Crow Center
                                          2001 Ross Avenue
                                           Dallas, TX 75201

                                     Boise Cascade Office Products
                                          150 E. Pierce Road
                                            Itasca, IL 60143

Dated: April 10, 2003                                   Respectfully submitted,

                                                               /s/ Dennis S. Meir
                                                        Dennis S. Meir -Georgia Bar No. 501100

                                                        KILPATRICK STOCKTON LLP
                                                        1100 Peachtree Street, Suite 2800
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                                                        COUNSEL TO ALPHA CAPITAL
                                                        AKTEINGESELLSCHAFT, AMRO
                                                        INTERNATIONAL, S.A., MARKHAM
                                                        HOLDINGS, LTD., AND STONESTREET
                                                        LIMITED PARTNERSHIP


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